Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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Case 19-02043   Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08   Desc Imaged
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          Case 19-02043            Doc 38 Filed 05/08/20 Entered 05/08/20 22:31:08                               Desc Imaged
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                                               United States Bankruptcy Court
                                                     District of Utah
State Bank of Southern Utah,
         Plaintiff                                                                                Adv. Proc. No. 19-02043-RKM
Beal,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1088-2                  User: mfr                          Page 1 of 1                          Date Rcvd: May 06, 2020
                                      Form ID: pdfor1                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 08, 2020.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion19.sk.ecf@usdoj.gov May 07 2020 03:11:17     United States Trustee,
                 Washington Federal Bank Bldg.,   405 South Main Street,   Suite 300,
                 Salt Lake City, UT 84111-3402
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 08, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 6, 2020 at the address(es) listed below:
              Justin Michael Kuettel    on behalf of Plaintiff   State Bank of Southern Utah jkuettel@rqn.com,
               moakeson@rqn.com
              Steven W. Call    on behalf of Plaintiff   State Bank of Southern Utah scall@rqn.com,
               docket@rqn.com,lconterio@rqn.com
              William P. Morrison    on behalf of Defendant Allen Beal willmorrison01@gmail.com,
               G23388@notify.cincompass.com
                                                                                             TOTAL: 3
